UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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NDF1, LLC,                                                                  Case No.:

                                               Plaintiff.                   RPAPL 1320 NOTICE

                               -against-

PAUL GOMEZ; NATALIA GOMEZ; NASSAU COUNTY
T&PVA; “JOHN DOE” and “JANE DOE,” the last two                              Block: 531
names being fictitious, said parties intended being tenants or              Lot: 52
occupants, if any, having or claiming an interest in, or lien               Section:12
upon, the premises described in the complaint,
                                                                            PROPERTY ADDRESS:
                                                     Defendants.            18 Page Drive
                                                                            Hicksville, NY 11801
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                                  NOTICE
                  YOU ARE IN DANGER OF LOSING YOUR HOME

If you do not respond to this summons and complaint by serving a copy of the
answer on the attorney for the mortgage company who filed this foreclosure
proceeding against you and filing the answer with the court, a default judgment
may be entered and you can lose your home.

Speak to an attorney or go to the court where your case is pending for further
information on how to answer the summons and protect your property.

Sending a payment to your mortgage company will not stop this foreclosure
action.

YOU MUST RESPOND BY SERVING A COPY OF THE ANSWER ON THE
ATTORNEY FOR THE PLAINTIFF (MORTGAGE COMPANY) AND
FILING THE ANSWER WITH THE COURT.
